                        SETTLEMENT AGREEMENT

       The Navajo Nation, a federally recognized Indian Tribe; Joyce Nez, an individual;

Denise Johnson, an individual; Ashley Atene, Sr., an individual; Irene Roy, an individual;

Bonnie Tsosie, an individual; and Dale Smith an individual (collectively, the “Plaintiffs”)

hereby enter into this Settlement Agreement (the “Agreement”) with Arizona Secretary

of State Katie Hobbs (the “Secretary”).

                                       RECITALS

       A.     The Navajo Nation is a federally recognized Indian Tribe with a

government-to-government relationship with the United States. The Navajo Reservation

was established by the Treaty of 1868 and was thereafter expanded by successive

executive orders. The Reservation consists of approximately 27,000 square miles of

sovereign territory. The Reservation is located in Apache, Navajo, and Coconino counties

in Arizona, and 8 counties in Utah and New Mexico. According to the 2010 census, the

population of the Reservation is 173,667 of whom 101,835 live on the Arizona portion of

the Reservation. The Navajo Nation has a voting age population of 67,252 living within

the Arizona portion of the Reservation.

       B.     Joyce Nez, Ashley Atene, Sr., Dale Smith, Denise Johnson, Irene Roy, and

Bonnie Tsosie are enrolled members of the Navajo Nation.

       C.     Arizona Secretary of State Katie Hobbs is the chief state election officer

with various duties related to the conduct of the state’s elections. See, e.g., A.R.S. § 16-

142.   The Secretary is also responsible to print and publish a publicity pamphlet


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containing specified information about ballot measures and proposed constitutional

amendments. A.R.S. § 19-123.

       D.      On November 20, 2018, the Plaintiffs filed a lawsuit in federal district court

against the Secretary and other defendants alleging that certain Arizona electoral

practices violated the federal and state constitutions as well as the Voting Rights Act.

That lawsuit is known as The Navajo Nation, et al., v. Hobbs, et al., No. CV-18-08329-

PCT-DWL (D. Ariz.) (the “Litigation”).

       E.      The Secretary denies that her prior practices, challenged in the Litigation,

were unlawful.

       F.      The Secretary desires to craft policies and procedures that will help all

eligible Arizona voters, including enrolled members of the Navajo Nation, to effectively

cast their ballots.

       G.      The Plaintiffs and the Secretary (together, the “Parties”) enter into this

Agreement to resolve the Litigation. This resolution will allow the Parties to avoid the

expense of additional litigation and receive certainty as to the resolution of their dispute.

       H.      WHEREFORE, for this and other valuable consideration, including the

mutual promises and obligations of this Agreement, the Parties agree and covenant to the

Terms and Conditions specified below.

                                      DEFINITIONS

       1.      “Elections Procedures Manual” means the manual the Secretary develops in

consultation with county elections officials, which contains rules related to voter

registration, voting, and the tabulation and storing of ballots. The Elections Procedures

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Manual has the force of law and is binding on county elections officials. See A.R.S. §16-

452.

       2.     “Early ballot affidavit” means the affidavit described in A.R.S. §§ 16-550 –

552, and is that affidavit that must be signed by electors utilizing an early ballot to vote.

       3.     “Publicity Pamphlet” means the pamphlet required by A.R.S. § 19-123.

       4.     “Secretary” means the Arizona Secretary of State and her office.

       5.     “Voter Registration Database” means the electronic storage system

developed and administered by the Secretary that contains the official voter registration

record for every voter in the state. See A.R.S. § 16-168(J).

                              TERMS AND CONDITIONS

       1.     Missing-Signature Cure Opportunity.               The Secretary shall cause

language to be included in the next Draft Elections Procedures Manual, which will be

sent to the Governor and Attorney General for their approval as required by A.R.S. § 16-

452, that specifies that voters who fail to sign their early ballot affidavits (“missing

signatures”) shall be afforded the same opportunity to cure their signature deficiency as

that afforded to voters whose early ballot affidavit signatures do not match their signature

in the Voter Registration Database (“inconsistent signatures”).

                  a.   Senate Bill 1054, which was signed into law on April 1, 2019,

provides that the county elections officials shall make reasonable efforts to contact voters

with inconsistent signatures, advise them of their inconsistent signature, and allow them

to correct (or the County to confirm) their inconsistent signature not later than the fifth

business day after a primary, general, or special election that includes a federal office or

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the third business day after any other election. SB1054, Fifty-fourth Legislature, First

Regular Session (2019), codified at A.R.S. § 16-550(A).

                   b.   The Secretary shall cause the draft Elections Procedures Manual to

contain language essentially similar to the following:

            If a voter fails to sign an early ballot affidavit, the County Recorder
            or other officer in charge of elections shall make reasonable efforts
            to contact the voter, advise the voter of the missing signature, and
            allow the voter to cure the deficiency. The County Recorder or other
            officer in charge of elections shall allow signatures to be corrected
            not later than the fifth business day after a primary, general, or
            special election that includes a federal office or the third business
            day after any other election.

                   c.   The Plaintiffs understand and acknowledge that the Secretary

cannot, by herself, enact a new Elections Procedures Manual. Rather, the Secretary must

consult with the county election officials before prescribing the rules in a new draft

manual, and the Governor and Attorney General must give their approval to the draft

manual before the Secretary can issue it as the Elections Procedures Manual.

Accordingly, the Plaintiffs reserve their right to file a new lawsuit should the next

Elections Procedures Manual not specify that missing signatures are allowed to be cured

in the same manner and timeframe as inconsistent signatures.

       2.      Navajo-Language Publication of the Publicity Pamphlet. The Secretary

shall continue to use certified Navajo translators to coordinate and make available the

Navajo-language translation of ballot measure language in the Publicity Pamphlet, as

provided by A.R.S. § 19-123(A), except that this requirement shall not extend to “[t]he




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arguments for and against the measure or amendment” submitted by members of the

public as provided by A.R.S. § 19-123(A)(3).

       3.     Dismissal of the Litigation. The Parties shall work together to dismiss the

Litigation as to the Secretary with prejudice pursuant to Federal Rule of Civil Procedure

41 or such other procedure as the Parties my deem appropriate.

       4.     Jurisdiction.   The Parties agree that this Agreement concerns matters

related to voting and elections, and so is governed by the laws of the United States as

well as the state of Arizona. The Parties further agree that the exclusive jurisdiction and

venue for any dispute relating to this Agreement is the United States District Court for

the District of Arizona, which shall retain jurisdiction over this Agreement and shall enter

such further relief as may be necessary for the effectuation of the terms of this

Agreement. For purposes of construing this Agreement, this Agreement shall be deemed

to have been drafted by all Parties to this Agreement and shall not, therefore, be

construed against any Party for that reason in any subsequent dispute.

       5.     Successors and Assigns. This Agreement will be binding upon and inure

to the benefit of the Parties and their respective heirs, representatives, successors, and

assigns. The Secretary will continue to be bound by all terms of this Agreement during

the term of this Agreement, without regard to the individual holding the office of Arizona

Secretary of State.

       6.     Intended Beneficiaries of the Agreement.          This Agreement is solely

intended to be for the benefit of the Parties, their successors, and assigns. The Parties do

not release any claims against any other person or entity. Each party and signatory to this

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Agreement represents that it freely and voluntarily enters in to this Agreement without

any degree of duress or compulsion.

       7.      Complete Agreement. The Agreement constitutes the complete agreement

between the Parties. This Agreement may not be amended except by written consent of

the Parties.

       8.      Authority to Execute Agreement. The undersigned represent and warrant

that they are fully authorized to execute this Agreement on behalf of the persons and

entities indicated below.

       9.      Counterpart Execution. The Agreement may be executed in counterparts,

each of which constitutes an original and all of which constitute one and the same

Agreement.

       10.     Disclosure.    Both Parties consent to the other’s disclosure of this

Agreement, and information about this Agreement, to the public.

       11.     Severability. If any terms of the Agreement is to any extent invalid for any

reason, including illegality or conflict with applicable law or regulation, or is otherwise

unenforceable, then: such particular term shall be excluded to the extent of such

invalidity or unenforceability; all other terms of the Agreement shall remain in full force

and effect; and, to the extent permitted and possible, the invalid or unenforceable term

shall be deemed replaced by a term that is valid and enforceable and that comes closest to

expressing the intention of such invalid or unenforceable term.

       12.     Attorneys’ Fees and Costs. Each Party shall bear their own attorneys’

fees and costs.

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      13.    Effective Date. The Agreement is effective on the date of signature of the

last signatory to the Agreement, and supersedes all prior versions of the Agreement.

Facsimiles of signatures shall constitute acceptable, binding signatures for purposes of

the Agreement.



                  * * * TWO SIGNATURE PAGES FOLLOW * * *




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